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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

EARL PETERS, IDDO BLACKWELL,                 *      CIVIL ACTION
KEVIN MATHIEU, LAVELLE                       *
MEYERS, DAN RILEY, RUSSELL                   *
WARE                                         *      NUMBER: 3:16-cv-00842-SDD-RLB
                                             *
VERSUS                                       *
                                             *      JUDGE SHELLY D. DICK
RAMAN SINGH, JOHN BEL                        *
EDWARDS, JAMES M. LEBLANC,                   *
STEPHANIE LAMARTINIERE,                      *
                                          MAGISTRATE
DARRYL VANNOY, STATE OF                      *
                                          RICHARD L. BOURGEOIS
LOUISIANA, LOUISIANA          *
DEPARTMENT OF PUBLIC SAFETY *
AND CORRECTIONS                     *
******************************************************************************
                                   ORDER

       Considering Defendants, State of Louisiana, Louisiana Department of Public Safety and

Corrections, John Bel Edwards, in his capacity as Governor of Louisiana, James LeBlanc,

Secretary of the Louisiana Department of Public Safety and Corrections, Darryl Vannoy, Warden

at Angola, Raman Singh, and Stephanie Lamartinere, Assistant Warden at Angola’s ex parte

motion for leave to exceed page limit regarding their memorandum in support of motion for

summary judgment regarding claims of plaintiff, Dan Riley;

       IT IS ORDERED that Defendants are hereby granted leave to exceed the 20-page

limitation;

       IT IS FURTHER ORDERED that Defendants’ memorandum in support of motion for

summary judgment regarding claims of plaintiff, Herman Bella, and attached exhibits shall be filed

into the record.
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Baton Rouge, Louisiana, this _______ day of _______________, 2019.




        ___________________________________________________
              JUDGE, UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF LOUISIANA
